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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

HAMPTON DELLINGER, in his personal
capacity and in his official capacity as Special
Counsel of the Office of Special Counsel,
       1050 K Street NW
       Washington, DC 20001                             Civil Case No. __________________
                             Plaintiff,
                 -against-
SCOTT BESSENT, in his official capacity as
Secretary of the Treasury,
       1500 Pennsylvania Avenue NW
       Washington, DC 20220                             EMERGENCY TEMPORARY
SERGIO GOR, in his official capacity as                 RESTRAINING ORDER SOUGHT
Director of the White House Presidential
Personnel Office,
       1600 Pennsylvania Avenue NW                      EMERGENCY HEARING
       Washington, DC 20500                             RESPECTFULLY REQUESTED
KAREN GORMAN, in her official capacity as
Principal Deputy Special Counsel, upon the
purported removal of the Special Counsel, the
Acting Special Counsel of the Office of Special
Counsel,
       1730 M Street NW
       Washington, DC 20036
KARL KAMMANN, in his official capacity as
the Chief Operating Officer of the Office of
Special Counsel,
       1730 M Street NW
       Washington, DC 20036
DONALD J. TRUMP, in his official capacity as
President of the United States of America,
       1600 Pennsylvania Avenue NW
       Washington, DC 20500
RUSSELL VOUGHT, in his official capacity as
Director of the Office of Management and
Budget,
       725 17th Street, NW
       Washington, DC 20503
                             Defendants.

             COMPLAINT FOR DECLATORY AND INJUNCTIVE RELIEF
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                                        INTRODUCTION

          1.   The Office of Special Counsel is an independent federal agency led by the Special

Counsel. Plaintiff Hampton Dellinger has held the office of Special Counsel since March 6, 2024,

following his nomination by the President and confirmation by the Senate. He is entitled to

continue to serve as Special Counsel for the remainder of his five-year term and may be removed

by the President “only for inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C.

§ 1211(b).

          2.   On the night of February 7, 2025, President Trump disregarded that clear statutory

language and, in a one-sentence email, purported to terminate Special Counsel Dellinger. That

email made no attempt to comply with the Special Counsel’s for-cause removal protection. It stated

simply: “On behalf of President Donald J. Trump, I am writing to inform you that your position as

Special Counsel of the US Office of Special Counsel is terminated, effective immediately.”

          3.   President Trump’s purported removal of Special Counsel Dellinger is unlawful. It

has no basis in fact and thus cannot be squared with the statutory text. And it is in direct conflict

with nearly a century of precedent that defines the standard for removal of independent agency

officials and upholds the legality of virtually identical for-cause removal protections for the heads

of independent agencies.

          4.   As the Special Counsel of the Office of Special Counsel, Mr. Dellinger brings this

action against President Trump, the Director of the White House Presidential Personnel Office, the

Office of Special Counsel, the Secretary of the Treasury, and the Office of Management and

Budget, seeking a declaratory judgment and injunction and, on an emergency basis, a temporary

restraining order to prevent the deprivation of his statutory entitlement to exercise the duties of his

office.




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                                 JURISDICTION AND VENUE

        5.      This Court has jurisdiction over the subject matter of this action for declaratory and

injunctive relief under 28 U.S.C. §§ 1331, 1361.

        6.      Venue is proper in this district under 28 U.S.C. § 1391(e).

                                             PARTIES

        7.      Plaintiff Hampton Y. Dellinger is the Special Counsel of the United States Office

of Special Counsel.

        8.      Defendant Scott Bessent is the Secretary of the Treasury. He is sued in his official

capacity.

        9.      Sergio Gor is the Director of the White House Presidential Personnel Office. He is

sued in his official capacity.

        10.     Defendant Karen Gorman is the Principal Deputy Special Counsel and, upon the

removal of the Special Counsel, the Acting Special Counsel of the Office of Special Counsel.

        11.     Defendant Karl Kammann is the Chief Operating Officer of the Office of Special

Counsel.

        12.     Plaintiff has great respect and admiration for his colleagues in the Office of Special

Counsel and names them only in their official capacities as required by law.

        13.     Defendant Donald J. Trump is the President of the United States and is responsible

for the decision to remove Mr. Dellinger from his office. He is sued in his official capacity.

        14.     Defendant Russell Vought is the Director of the Office of Management and Budget

as of his confirmation by the Senate on February 7, 2025. He is sued in his official capacity.

                                 STATUTORY BACKGROUND

        15.     The Office of Special Counsel (“OSC”) is an independent agency of the United

States. In 1978, Congress first established the OSC within the Merit Systems Protection Board

(“MSPB”) as part of the Civil Service Reform Act of 1978 (“CSRA”), PL 95–454 (S 2640), 92

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Stat. 1111 (Oct. 13, 1978). The CSRA was enacted to address widespread public concerns about

the federal civil service—including evidence that it was vulnerable to political manipulation and

failed to protect whistleblowers.1

          16.   The legislation that became the CSRA was first proposed by President Carter. In a

letter to Congress, President Carter requested that Congress create the MSPB, whose members

would be removable only for cause, and a Special Counsel, who would be appointed by the

President and confirmed by the Senate. President Carter explained that this structure was intended

to “guarantee independent and impartial protection to employees” and thereby “safeguard the

rights of Federal employees who ‘blow the whistle’ on violations of laws or regulations by other

employees, including their supervisors.”2

          17.   Over the subsequent seven months, Congress worked to reduce President Carter’s

proposal to final legislation. Throughout these deliberations, Congress emphasized the importance

of an independent Special Counsel with sufficient authority to protect federal employees. To

ensure that independence, Congress in the CSRA provided that the Special Counsel “may be

removed by the President only for inefficiency, neglect of duty, or malfeasance in office.” Civil

Service Reform Act, P.L. 95-454, 92 Stat. 1111, Ch. 12, § 1204.

          18.   On October 13, 1978, President Carter signed the CSRA into law, declaring that

the “landmark legislation” would create “a new system of excellence and accountability.”3




1 The Civil Service and the Statutory Law of Public Employment, 97 Harv. L. Rev. 1619, 1631–32

(1984).
2   Federal Civil Service Reform Message to the Congress (Mar. 2, 1978),
https://www.presidency.ucsb.edu/documents/federal-civil-service-reform-message-the-congress.
3 President Jimmy Carter Remarks on Signing the Civil Service Reform Act of 1978 into Law (Oct.

13, 1978), https://www.presidency.ucsb.edu/documents/civil-service-reform-act-1978-statement-
signing-s-2640-into-law.

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       19.     In 1989, Congress again responded to concerns that whistleblowers within the

federal civil service were not adequately protected with the Whistleblower Protection Act of 1989,

PL 101–12, 103 Stat 16 (Apr. 10, 1989) (codified as amended at 5 U.S.C §§ 1211–1219). With

that law, Congress vested the OSC with new authorities to receive complaints from whistleblowers

and to protect them from retaliation. The Act also removed the OSC from its place within the

MSPB and established it as an independent agency. 5 U.S.C. § 1211(a). Congress also retained the

CSRA’s for-cause removal protections, providing that the Special Counsel could be removed by

the President “only for inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C. § 1211(b).

       20.     Upon signing the Whistleblower Protection Act, President Bush celebrated that the

Act would “enhance the authority of the Office of Special Counsel to protect whistle-blowers and

other employees victimized by prohibited personnel practices.” President Bush also specifically

approved that the Act retained “current law which provides that the Special Counsel may only be

removed for inefficiency, neglect of duty, or malfeasance.”4

       21.     From its inception, Congress intended that the Special Counsel act with

independence and impartiality to safeguard the civil service as both an “ombudsman” and

“watchdog.” Frazier v. Merit Sys. Prot. Bd., 672 F.2d 150, 162–63 (D.C. Cir. 1982).

       22.     The OSC’s primary mission is to protect federal employees and applicants from

prohibited personnel practices (“PPPs”), especially reprisal for whistleblowing. The OSC also

provides a secure channel for federal employees to blow the whistle by disclosing wrongdoing. It

civilly enforces the Hatch Act, which puts certain restrictions on partisan political activity by




4 George H.W. Bush, Remarks on Signing the Whistleblower Protection Act of 1989 (Apr. 10,

1989), https://bush41library.tamu.edu/archives/public-papers/290.

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government employees. And it acts as an aide to Congress by providing reports meant to inform

legislative and oversight agendas. 5 U.S.C §§ 1212–1219.

         23.   In addition to the CSRA and the Whistleblower Protection Act, Congress conferred

authority on the OSC through the Hatch Act and the Uniformed Services Employment &

Reemployment Rights Act (“USERRA”), Pub. L. 103-353 (1994) (codified at 38 U.S.C. §§ 4301–

4335).

         24.   When the OSC receives a complaint alleging a PPP under the CSRA, it reviews the

allegations, assesses the evidence, and determines whether to begin an investigation. 5 U.S.C.

§ 1214. When investigation is warranted, the OSC resolves most matters by assisting settlement

or alternative dispute resolution with the complainant-employee and the agency-employer, but the

OSC occasionally seeks corrective action on behalf of the employee in the MSPB. See 5 U.S.C.

§§ 1212, 1215. If the OSC declines to seek corrective action, the employee alleging a PPP retains

an independent right of action to file with the MSPB without OSC involvement, subject to certain

procedural requirements. 5 U.S.C. § 1221; 5 C.F.R. § 1209.5(a).

         25.   The OSC follows a similar procedure upon receipt of a complaint alleging a Hatch

Act violation. Congress enacted the Hatch Act in 1939 to restrict political activity, including

coerced political activity, of federal employees. 5 U.S.C. § 7321. In most cases of Hatch Act

violations, the OSC issues a nonbinding warning letter to the employee. A warning letter typically

ends the inquiry, but in rare cases of egregious and repeated violations, the OSC seeks disciplinary

action in the MSPB. 5 U.S.C. § 1215. As with PPPs, the MSPB adjudicates the matter and

determines what, if any, disciplinary measures are appropriate. 5 U.S.C. § 1204. The MSPB can

impose only modest civil penalties, with a maximum monetary penalty of $1,000. 5 U.S.C.

§ 7326(2). Any disciplinary order imposed by the MSPB is subject to judicial review by the U.S.

Court of Appeals for the Federal Circuit. 5 U.S.C. § 7703.


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       26.     The OSC has similar, but more limited, authority under the USERRA, which

Congress passed in 1994 to protect service members and veterans from employment discrimination

on the basis of their military service. 38 U.S.C. § 4301(a). The OSC and the Department of Labor

share responsibility under USERRA, and the Department refers complaints to the OSC. As with

the Hatch Act and PPPs, the OSC first attempts settlement to resolve any complaints and only

occasionally initiates an action in the MSPB. Id. § 4324(a), (c).

       27.     Congress also tasked the OSC in the Whistleblower Protection Act with an

oversight role to review government investigations of potential wrongdoing. When a federal

employee files a disclosure of wrongdoing, the OSC first determines whether there is a substantial

likelihood that the information discloses a violation of law. If so, the OSC asks the agency to

investigate and report on the matter. 5 U.S.C. § 1213(c). The OSC then reviews the agency’s

report, gives the whistleblower an opportunity to comment, provides its assessment of the report,

and submits both the agency report and the OSC’s findings to Congressional oversight committees

and to the President. 5 U.S.C. § 1213(e).

       28.     The Special Counsel must be nominated by the President and confirmed by the

Senate. The Special Counsel must also be “an attorney who, by demonstrated ability, background,

training, or experience, is especially qualified to carry out the functions of the position.” 5 U.S.C.

§ 1211(b).

       29.     Once confirmed, the Special Counsel serves a five-year term and, if a successor has

not yet been appointed, up to one additional year. “The Special Counsel may be removed by the

President only for inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C. § 1211(b).




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                                  FACTUAL ALLEGATIONS

       30.     On October 3, 2023, President Biden nominated Plaintiff Hampton Dellinger to be

Special Counsel of the Office of Special Counsel.5 The Senate confirmed Mr. Dellinger on

February 27, 2024, and he was sworn in as Special Counsel on March 6, 2024.6 Mr. Dellinger’s

five-year term expires in 2029.

       31.     On February 7, 2025, at 7:22 PM, Special Counsel Dellinger received an email from

Sergio Gor, Assistant to the President and the Director of the White House Presidential Personnel

Office, which stated in its entirety: “On behalf of President Donald J. Trump, I am writing to

inform you that your position as Special Counsel of the US Office of Special Counsel is terminated,

effective immediately. Thank you for your service[.]” Ex. A.

       32.     The one-sentence email does not allege any inefficiency, neglect of duty, or

malfeasance in office by Special Counsel Dellinger, nor could it.7 In flagrant disregard for the clear




5 President Biden Announces Hampton Dellinger as Nominee for Special Counsel, Office of the

Special Counsel (Oct. 3, 2023), https://bidenwhitehouse.archives.gov/briefing-room/statements-
releases/2023/10/03/president-biden-announces-hampton-dellinger-as-nominee-for-special-
counsel-office-of-the-special-counsel/.
6   Hampton Dellinger Sworn In as Special Counsel of                      OSC     (Mar.   6,   2024),
https://osc.gov/News/Pages/Press%20Release%20Template1.aspx.
7 Only a year into his term, Special Counsel Dellinger has served with distinction and efficiency.

In Fiscal Year 2024, the OSC received an unprecedented number of cases while simultaneously
reducing its Hatch Act caseload by 39 percent compared to Fiscal Year 2020. U.S. Off. of Special
Cons., OSC’s 2024 Accomplishments Include Record Breaking Results and First Ever Actions
(Jan. 6, 2025), https://osc.gov/News/Pages/25-15-OSC-2024-Accomplishments.aspx. Under
Special Counsel Dellinger’s leadership, the OSC submitted key Hatch Act reports, secured
compensatory damages for Army employees, launched a new transparency and accountability
initiative, achieved hundreds of favorable decisions on behalf of complainants alleging PPP
violations, and assisted over a dozen veterans in asserting their employment rights. Id. And Special
Counsel Dellinger’s work has drawn praise from organizations and individuals across the political
spectrum. He was lauded by nonpartisan watchdog organizations for his “nuts-and-bolts reforms”
to the protections that whistleblowers receive, Tom Devine, Group Praises Federal Whistleblower
Agency for Nuts and Bolts Reforms, Gov’t Accountability Proj. (Sept. 17, 2024),
https://whistleblower.org/press/group-praises-federal-whistleblower-agency-for-nuts-and-bolts-
reforms/, and, after Special Counsel Dellinger concluded an investigation into the U.S. Coast

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statutory text, Special Counsel Dellinger was purportedly terminated without basis, justification

or authority.

         33.    The OSC’s ability to protect the civil service and investigate alleged misconduct is

needed now more than ever. Over the preceding three weeks, an unprecedented number of federal

employees with civil service protections have been terminated without cause. Senior career

officials have been purged from the Federal Bureau of Investigations. Eighteen Inspectors General

from across the federal government have been removed without the justification required by

statute.8 And hundreds of federal employees have been locked out of their computer systems by

the U.S. DOGE Service Temporary Organization.9

         34.    President Trump has also attempted to remove Board Member Gwynne Wilcox

from the National Labor Relations Board despite clear statutory for-cause removal protection.10




Guard’s unlawful use of non-disclosure agreements to silence whistleblowers, Senator Ted Cruz
(R-TX) responded: “Thank you to Special Counsel Dellinger for your attention to this issue,”
@SenTedCruz,           X          (June         6,          2024,         12:40          PM),
https://x.com/SenTedCruz/status/1798756854077808858.

8 Grassley, Durbin Seek Presidential Explanation for IG Dismissals, Senate Judiciary Comm. (Jan.

28, 2025), https://www.judiciary.senate.gov/press/rep/releases/grassley-durbin-seek-presidential-
explanation-for-ig-dismissals.
9 Ellen Knickmeyer et al., Trump and Musk move to dismantle USAID, igniting battle with

Democratic lawmakers, AP (Feb. 3, 2025), https://apnews.com/article/trump-musk-usaid-
c0c7799be0b2fa7cad4c806565985fe2; Tim Reid, Exclusive: Musk aides lock workers out of OPM
computer systems, Reuters (Feb. 2, 2025), https://www.reuters.com/world/us/musk-aides-lock-
government-workers-out-computer-systems-us-agency-sources-say-2025-01-31/.
10 Andrew Hsu, Trump fires EEOC and labor board officials, setting up legal fight, NPR (Jan. 28,

2025),    https://www.npr.org/2025/01/28/nx-s1-5277103/nlrb-trump-wilcox-abruzzo-democrats-
labor.

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        35.     These events are ongoing, and they have caused “chaos” and “confusion” among

civil servants and agency officials.11 They directly implicate the public’s interest in the smooth

functioning of the federal workforce, and they raise troubling questions under both the civil service

statutes and the Constitution.

        36.     Special Counsel Dellinger’s purported termination has sown confusion about his

authority to lead the OSC and jeopardized the agency’s functioning. Congress authorized the OSC

with a crucial investigative and oversight role to protect the integrity of the civil service in

circumstances such as these. The recent spate of terminations of protected civil service employees

under the new presidential administration has created controversies, both about the lawfulness of

these actions and about potential retaliation against whistleblowers. The OSC is statutorily tasked

with receiving such reports, investigating them, and taking appropriate action. The President’s

unlawful attempt to remove Special Counsel Dellinger from his office directly violates the modest

but vital protections that Congress put in place and renders the OSC and the Special Counsel unable

to fulfill their statutory mandate.

                                      CLAIMS FOR RELIEF

                                      COUNT ONE
                    ULTRA VIRES IN VIOLATION OF STATUTORY AUTHORITY

        37.     The preceding paragraphs are incorporated and realleged here.

        38.     Special Counsel Dellinger has a clear entitlement to remain in his office. Once

confirmed by the Senate, the Special Counsel serves a five-year term. 5 U.S.C. § 1211(b). The

Special Counsel may be removed from that term “by the President only for inefficiency, neglect

of duty, or malfeasance in office.” Id.



11 Allan Smith, ‘Fear’ and ‘chaos’ grip federal workers as Trump rapidly remakes the government,

NBC News (Jan. 30, 2025), https://www.nbcnews.com/politics/donald-trump/fear-chaos-grip-
federal-workers-trump-remakes-government-rcna189746.

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         39.    The constitutionality of that protection is dictated by nearly a century of binding

Supreme Court precedent upholding materially identical restrictions. Humphrey’s Executor v.

United States, 295 U.S. 602, 620 (1935); Wiener v. United States, 357 U.S. 349, 356 (1958). The

Supreme Court has determined already that because the Special Counsel “exercises only limited

jurisdiction to enforce certain rules governing Federal Government employers and employees” and

“does not bind private parties at all,” the Special Counsel’s for-cause removal protection does not

implicate the constitutional concerns that have resulted in invalidating removal protections for

other single-head agencies. Seila Law LLC v. Consumer Fin. Prot. Bureau, 591 U.S. 197, 221

(2020)

         40.    President Trump’s purported termination of Special Counsel Dellinger is unlawful.

The President did not purport to remove Special Counsel Dellinger on the basis of “inefficiency,

neglect of duty, or malfeasance in office.” In fact, the President’s termination email provided no

justification at all for Special Counsel Dellinger’s termination.

         41.    As a result, the President’s termination of Special Counsel Dellinger is ultra vires

and is a clear violation of the statute.

                                        COUNT TWO
               ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. §§ 706(1) and 706(2)
               (Against Defendants Bessent, Gor, Gorman, Kammann, and Vought)

         42.    The preceding paragraphs are incorporated and realleged here.

         43.    To the extent that Defendants Bessent, Gor, Gorman, Kammann, and Vought

exercise authority with respect to, or on behalf of, the Office of Special Counsel without regard to

Mr. Dellinger’s position as Special Counsel, those actions are “not in accordance with the law,”

“contrary to a constitutional right, power, privilege, or immunity,” and “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2). Special

Counsel Dellinger seeks to hold unlawful and set aside such actions, pursuant to section 706 the


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Administrative Procedure Act and to compel agency action unlawfully withheld or unreasonably

delayed.

                                  COUNT THREE
                  DECLARATORY JUDGMENT ACT, 28 U.S.C. §§ 2201 and 2202

       44.     The preceding paragraphs are incorporated and realleged here.

       45.     Special Counsel Dellinger is entitled to declaratory relief on the basis of all claims

identified. There is a substantial and ongoing controversy between Special Counsel Dellinger and

the Defendants, and a declaration of rights under the Declaratory Judgment Act is both necessary

and appropriate to establish that Mr. Dellinger is the Special Counsel of the OSC and that the

President does not have authority to remove him absent inefficiency, neglect of duty, or

malfeasance in office.

                                      COUNT FOUR
                          VIOLATION OF THE SEPARATION OF POWERS

       46.     The preceding paragraphs are incorporated and realleged here.

       47.     President Trump’s purported removal of Special Counsel Dellinger is further

invalid because it violates Article I, section 8 and Article II, sections 2 and 3 of the U.S.

Constitution. The Constitution empowers Congress to set reasonable limitations on the removal of

the heads of independent agencies and it does not confer on the President an authority to violate

Congress’s scheme. The President’s purported removal of Special Counsel Dellinger violates the

authorities vested in Congress by the Constitution and further violates the President’s duty to “take

Care that the Laws be faithfully executed.”

                                        COUNT FIVE
                                      WRIT OF MANDAMUS

       48.     The preceding paragraphs are incorporated and realleged here.

       49.     In the alternative, Special Counsel Dellinger is entitled to a writ of mandamus. The

Special Counsel statute’s removal restrictions impose a ministerial duty on the President and

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subordinate officials not to interfere with Special Counsel Dellinger’s tenure in office absent cause

for inefficiency, neglect of duty, or malfeasance in office. See Swan v. Clinton, 100 F.3d 973, 977-

78 (D.C. Cir. 1996).

       50.      Special Counsel Dellinger is clearly entitled to a writ of mandamus prohibiting his

removal from office and, absent this Court granting one of the counts identified above, there is no

other adequate means of redress.

                                      COUNT SIX
             EQUITABLE RELIEF FOR STATUTORY AND CONSTITUTIONAL VIOLATIONS

       51.         The preceding paragraphs are incorporated and realleged here.

       52.         Under this Court’s traditional equitable jurisdiction, the plaintiff is entitled to

equitable relief to prevent and restrain ongoing violations of both statutory and constitutional

federal law by the defendants. Equitable actions have “long been recognized as the proper means”

to prevent public officials from acting unconstitutionally. Because such actions seek simply to halt

or prevent a violation of federal law rather than the award of money damages, they do not ask the

Court to imply a new cause of action. To the contrary, the ability to sue to enjoin unlawful and

unconstitutional actions by federal officers is the creation of courts of equity and reflects a long

history of judicial review of illegal executive action, tracing back to England. Armstrong v.

Exceptional Child Ctr., Inc., 575 U.S. 320, 326-27 (2015).

                                    PRAYER FOR RELIEF

       Special Counsel Dellinger requests that the Court:

                a. Declare that the President’s termination of Plaintiff Hampton Dellinger was
                   unlawful, and that Plaintiff Hampton Dellinger is the Special Counsel and head
                   of the Office of Special Counsel;

                b. Declare that the Special Counsel of the Office of Special Counsel may be
                   removed by the President only for inefficiency, neglect of duty, or malfeasance
                   in office;



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      c. Declare that Karen Gorman is not the Acting Special Counsel of the Office of
         Special Counsel, nor may any other individual serve as the Acting Special
         Counsel or the head of the Office of Special Counsel;

      d. Order that Plaintiff Hampton Dellinger may not be removed from his office as
         Special Counsel or in any way be treated as having been removed, denied or
         obstructed in accessing any of the benefits or resources of his office, or
         otherwise be obstructed from his ability to carry out his duties;

      e. Order that Defendants Bessent, Gor, Kammann, and Vought may not place an
         Acting Special Counsel in Plaintiff Hampton Dellinger’s position, or otherwise
         recognize any other person as Special Counsel or as the agency head of the
         Office of Special Counsel;

      f. Order Defendants Bessent, Gor, Gorman, Kammann, and Vought to pay
         Plaintiff Hampton Dellinger all wages and benefits owed to him as Special
         Counsel of the Office of Special Counsel;

      g. Award all other appropriate relief.




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                                            Respectfully submitted,



                                            /s/ Joshua A. Matz
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*Applications for pro hac vice pending      Attorneys for Plaintiff Hampton Dellinger


DATED: February 10, 2025




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